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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.                                           CIVIL ACTION NO:
                                              1:18-CV-04054-SCJ
 REAL PROPERTY LOCATED AT
 3306   BAY    VIEW       DRIVE,
 JONESBORO, GEORGIA, et al.,

       Defendants,

 v.

 ANYTIME BAIL BONDING, INC.

       Claimant.


          VERIFIED CLAIM OF ANYTIME BAIL BONDING, INC.

      COMES NOW Claimant, Anytime Bail Bonding, Inc. ("Claimant"), and

pursuant to Rule G(5) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions, hereby contests the forfeiture of certain

property referenced in the Verified Complaint For Forfeiture [Doc. No. 1] (the

"Complaint") filed by the United States of America ("Plaintiff") to the extent of

Claimant's interest in such property, and hereby asserts Claimant's interest in the

real property commonly referred to as 3306 Bay View Drive, Jonesboro, GA
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30236 ("3306 Bay View Property"), as follows:


                 Claim Relating to the 3306 Bay View Property

      Claimant makes its claim to the 3306 Bay View Property as an "innocent

owner" under 18 U.S.C. § 893(d), having obtained its interest in the property in

good faith. In 2016, Claimant made a loan to Mitzi L. Bickers ("borrower"), in an

arm's length transaction. Repayment of the loan was secured by a first priority deed

to secure debt identifying the secured collateral as the 3306 Bay View Property.

The security deed evidencing the loan was properly recorded in the real estate

records of Henry County, Georgia, on November 14, 2016, in Deed Book 14926,

pages 323-327 (hereinafter, including all renewals, amendments, extensions, or

modifications thereof, the "3306 Bay View Security Deed"). Ultimately, the

borrower failed to repay the indebtedness secured thereby, and Claimant elected to

exercise its remedies, including to wit, acceptance of a deed in lieu of foreclosure

("Deed in Lieu").1 At the time of the acceptance and recording of the Deed in Lieu,

there were no potential encumbrances on title as a matter of public record.

      However, after its acceptance and recording, it was discovered that Plaintiff


1
 The Quitclaim Deed in Lieu of Foreclosure is from Mitzi L. Bickers to Claimant,
dated April 9, 2018, and recorded on April 10, 2018, in Deed Book 15791, Page
290-292, in the official public land records for Henry County, Georgia. A true and
correct copy of the Deed in Lieu is attached hereto as Exhibit A.
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had recorded a Notice of Lis Pendens identifying the 3306 Bay View Property as

the subject of a forfeiture action. The lis pendens was not readily apparent in the

public deed records as of the date that Claimant received the Deed in Lieu, nor as

of the date of the recording of the Deed in Lieu, as the recording of the lis pendens

occurred in the "gap period." In real estate parlance, the gap period is the delay

between the date an instrument is recorded and the time that the instrument is

publicly available or visible in the public record. The gap period is caused by

delays inherent in the contemporary deed recording process.

      Accordingly, Claimant hereby asserts its claim, as the fee simple owner of

3306 Bay View Property as an innocent lienholder who took title to the 3306 Bay

View Property in satisfaction of the debt of borrower, and that it has no direct

knowledge of the facts giving rise to the indictment in which the borrower is

named.

      Claimant further is the owner and holder of such other rights in the 3306

Bay View Property, and/or remedies that may apply under the circumstances at law

or in equity.

      To the extent there are any title defects on Claimant's interest in the 3306

Bay View Property by virtue of the acceptance of the Deed in Lieu, Claimant

hereby asserts such rights to which it may be entitled, at law or in equity, that may
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be necessary to restore Claimant's rights prior to acceptance of the Deed in Lieu.

      WHEREFORE, Claimant prays for the following relief:

      (a)    A determination by this Court that any forfeiture of the 3306 Bay

View Property is subordinate to the interests of Claimant;

      (b)    A determination by this Court of Claimant's priority interest in and to

the 3306 Bay View Property, and the extent of such interest; and

      (c)    Such other and further relief this Court deems just and proper.

      Respectfully submitted this 18th day of October, 2018 by:

                                             /s/ Brett A. Switzer
                                             Linda A. Finley (GA Bar # 261515)
                                             Brett A. Switzer (GA Bar # 554141)
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                                             Attorneys for Claimant Anytime Bail
                                             Bonding, Inc.
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                      CERTIFICATE OF COMPLIANCE

      Undersigned counsel certifies the foregoing document has been prepared

with one of the font and point selections (Times New Roman, 14 point) approved

by the court in Local Rule 5.1(c) and 7.1(D).

      This 18th day of October, 2018.

                                                /s/ Brett A. Switzer
                                                Brett A. Switzer (GA Bar # 554141)
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the foregoing document

by filing the same using the Court's ECF system, which will automatically send

notification to the follow attorneys of record:

Byung J. Pak
Kelly Kathleen Connors
Office of the United States Attorneys
600 United States Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

      This 18th day of October, 2018.

                                              /s/ Brett A. Switzer
                                              Brett A. Switzer (GA Bar # 554141)
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